Case No. 1:19-cv-00874-RBJ-MEH Document 590-4 filed 11/29/21 USDC Colorado pg 1
                                    of 21




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Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
                                                            USDC USDC
                                                                  Colorado
                                                                        Colorado
                                                                            Page 1pg
                                                                                   of 220
                                       of 21




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

    WARNER RECORDS INC., et al.,

                            Plaintiffs,
                                                      Case No. 19-cv-00874-RBJ-MEH
                    v.

    CHARTER COMMUNICATIONS, INC.,

                            Defendant.

                         CHARTER’S MOTION FOR SUMMARY JUDGMENT

          After years of discovery and motion practice—all at a staggering cost to the parties and

   the judicial system—there is no evidence to support a finding of liability against Charter on either

   count in the Complaint. First, under binding Supreme Court precedent, Plaintiffs must show that

   Charter’s objective in providing Internet service to allegedly offending customers was to cause

   copyright infringement. There is no evidence to support such a finding. Second, there is no

   evidence that subscribers chose Charter’s Internet service over competing services for the purpose

   of infringing Plaintiffs’ copyrights, nor is there any evidence that Charter has control over what

   its customers do online. Finally, in the event the case is not dismissed entirely for failure to prove

   liability, Plaintiffs are not entitled to statutory damages for a substantial portion of the

   copyrighted works asserted in the Complaint. Summary judgment in Charter’s favor on these

   damages-related issues will greatly reduce the scope and complexity of the case for trial.

                                          UNDISPUTED FACTS

          Charter is a cable company that provides customers with a connection to the Internet for a

   monthly fee. Declaration of Mary Haynes (“Haynes Decl.”) ¶ 3. During the relevant period,

   Charter provided Internet access to                                                      and hundreds



                                                     1
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
                                                            USDC USDC
                                                                  Colorado
                                                                        Colorado
                                                                            Page 2pg
                                                                                   of 320
                                       of 21




   of thousands of businesses, in geographic regions across the country. Id. ¶¶ 4-6.




                                    Id. ¶¶ 7-8. Although Charter could not verify the allegations in

   the notices, it took them seriously. Id. ¶¶ 9-11; 37. At great expense, Charter implemented a

   program to track all the copyright notices it received, inform customers about the allegations

   contained in the notices, and educate customers about the consequences of copyright infringement.

   Id. ¶¶ 11-13; 21-40. The goal of Charter’s program was to discourage and prevent copyright

   infringement online. Id. ¶¶ 12-13; 41-42.

          Charter’s program for addressing allegations of copyright infringement was designed to

   comport with industry standards. Haynes Decl. ¶ 14. In 2011, members of the movie, television,

   music and Internet service provider communities announced the creation of the Copyright Alert

   System (“CAS”)—a set of “best practices” for ISPs to follow when handling copyright complaints.

   Id. ¶¶ 15-16; Declaration of Andrew H. Schapiro (“Schapiro Decl.”) Ex. B. The cornerstone of

   the CAS program was customer education, and it was based on data showing that most Internet

   subscribers, once informed about the alleged content theft and its possible consequences, would

   take steps to ensure that the misconduct did not happen again. Haynes Decl. ¶ 16; Schapiro Decl.

   Exs. B, C. Importantly, CAS did not require a provider to terminate customer accounts based

   solely on the receipt of repeated notices of alleged infringement. Id.; Haynes Decl. ¶ 17. Although

   Charter was not itself a participant in the CAS program, its copyright notice program tracked CAS

   by using information and education to mitigate online infringement. Id. ¶¶ 18-20.

          Plaintiffs claim to have sent Charter                      notices of alleged infringement



                                                   2
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
                                                            USDC USDC
                                                                  Colorado
                                                                        Colorado
                                                                            Page 3pg
                                                                                   of 420
                                       of 21




   from January 2012 to May 2016. The notices informed Charter that a customer “may be liable”

   for acts of infringement:

           If you are an Internet Service Provider (ISP), you have received this letter because
           we have identified a user on your network reproducing and/or distributing an
           unauthorized copy of a copyrighted sound recording(s). This letter constitutes
           notice to you that this user may be liable for infringing activity occurring on your
           network.

   Haynes Decl. ¶¶ 43-46; Ex A (emphasis added). Plaintiffs fault Charter for

                                                                                       . But Plaintiffs do

   not dispute that                                                                                        .

   At the same time,

                                                                              . Id. ¶¶ 31-35.



                        . Id.

                                               ARGUMENT1

           Charter moves for summary judgment on three discrete issues, each of which would reduce

   the scope of (if not eliminate entirely) a potential trial: (1) Plaintiffs’ failure to support a claim of

   contributory infringement; (2) Plaintiffs’ failure to support a claim of vicarious infringement; and

   (3) legal issues surrounding how many works are at issue, which do not turn on disputed facts. See

   Willner v. Budig, 848 F.2d 1032, 1035 (10th Cir. 1988) (summary judgment appropriate based on

   absence of evidence necessary to establish all elements of plaintiff’s claim); Lawmaster v. Ward,



   1
     By email dated January 6, 2021, Magistrate Judge Michael Hegarty informed the parties that
   after consultation with Judge Jackson, the Court agreed (at the parties’ request) to dispense with
   the pre-briefing letter requirement that is normally a prerequisite to filing dispositive motions.
   Schapiro Decl. Ex. A.


                                                      3
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
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                                                            USDC USDC
                                                                  Colorado
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                                                                            Page 4pg
                                                                                   of 520
                                       of 21




   125 F.3d 1341, 1347 (10th Cir. 1997) (“an issue of material fact is genuine only if the nonmovant

   presents facts such that a reasonable jury could find in favor of the nonmovant”).

   I.     PLAINTIFFS CANNOT PROVE CONTRIBUTORY INFRINGEMENT

          Plaintiffs contend that Charter is liable for contributory copyright infringement merely

   because

                              . But under binding Supreme Court precedent, Plaintiffs are required to

   prove that Charter provided service to these customers with the object of fostering infringement.

   Plaintiffs cannot do so.

          A.      To Establish Contributory Infringement, Plaintiffs Must Show That Charter
                  Intended To Cause Infringement

          In general, “[t]o state a claim of contributory copyright infringement, a plaintiff must allege

   that the defendant ‘with knowledge of the infringing activity’ induced, caused, or materially

   contributed to the infringing conduct of another.” Viesti Assocs., Inc. v. Pearson Educ., Inc., 2013

   WL 4052024, at *7 (D. Colo. Aug. 12, 2013). However, the Supreme Court’s rulings in Metro-

   Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005) (“Grokster”) and Sony Corp.

   of Am. v. Universal City Studios, Inc., 464 U.S. 417 (1984) (“Sony”) limited the circumstances

   under which a claim of contributory infringement can lie against a party selling a product or service

   capable of substantial noninfringing use. Grokster held that the mere sale of a product or service

   “capable of both lawful and unlawful use” does not constitute contributory infringement unless

   there is additional evidence that the defendant acted “with the object of promoting its use to

   infringe copyright, as shown by clear expression or other affirmative steps taken to foster

   infringement.” 545 U.S. at 918-19 (emphasis added). It is insufficient to premise a contributory

   liability claim on “mere knowledge of infringing potential or of actual infringing uses.” Id. at 937.


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Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
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                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
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                                                                  Colorado
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                                                                            Page 5pg
                                                                                   of 620
                                       of 21




   Rather, to prevail on a claim for contributory infringement, a plaintiff must prove the defendant

   distributed a device or service with the intent of fostering infringement:

          [O]ne who distributes a device [or service] with the object of promoting its use to
          infringe copyright, as shown by clear expression or other affirmative steps taken to
          foster infringement, is liable for the resulting acts of infringement by third parties.
          We are, of course, mindful of the need to keep from trenching on regular commerce
          or discouraging the development of technologies with lawful and unlawful potential.
          Accordingly, just as Sony did not find intentional inducement despite the
          knowledge of the VCR manufacturer that its device could be used to infringe, 464
          U.S., at 439, n. 19, 104 S.Ct. 774, mere knowledge of infringing potential or of
          actual infringing uses would not be enough here to subject a distributor to liability.
          Nor would ordinary acts incident to product distribution, such as offering
          customers technical support or product updates, support liability in themselves.
          The inducement rule, instead, premises liability on purposeful, culpable expression
          and conduct, and thus does nothing to compromise legitimate commerce or
          discourage innovation having a lawful promise.

   Id. at 936-37 (emphasis added).

          When considering a contributory liability claim against Sony based on the allegation that

   “some individuals had used [Sony’s] Betamax video tape recorders (VTR’s) to record some of

   respondents’ copyrighted works which had been exhibited on commercially sponsored television,”

   the Supreme Court ruled that “the sale of copying equipment, like the sale of other articles of

   commerce, does not constitute contributory infringement if the product is widely used for

   legitimate, unobjectionable purposes.       Indeed, it need merely be capable of substantial

   noninfringing uses.” Sony, 464 U.S. at 420, 442.

          The defendants in Grokster, who distributed free computer software, presented a different

   scenario: their “business models … confirm[ed] that their principal object was use of their

   software to download copyrighted works.” Grokster, 545 U.S. at 926 (emphasis added). Each

   defendant “showed itself to be aiming to satisfy a known source of demand for copyright

   infringement, the market comprising former Napster users,” and, indeed, brazenly designed their


                                                    5
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
                                                            USDC USDC
                                                                  Colorado
                                                                        Colorado
                                                                            Page 6pg
                                                                                   of 720
                                       of 21




   entire products and customer outreach around attracting these known infringers. Id. at 939. In

   fashioning a rule for such circumstances, the Court made clear that “in the absence of other

   evidence of intent, a court would be unable to find contributory infringement liability merely based

   on a failure to take affirmative steps to prevent infringement, if the device otherwise was capable

   of substantial noninfringing uses.” Id. at 939 n.12.

          Summarizing the Court’s holding in her concurrence, Justice Ginsburg described the two

   ways in which a plaintiff can state a contributory infringement claim where the defendant offers a

   product or service with substantial noninfringing uses: (1) by “actively encouraging (or inducing)

   infringement through specific acts (as the Court’s opinion develops)” or (2) by “distributing a

   product distributees use to infringe copyrights, if the product is not capable of ‘substantial’ or

   ‘commercially significant’ noninfringing uses.” Id. at 942 (emphasis added). District courts in

   the Tenth Circuit have correctly applied Grokster to require proof of the defendant’s intent to cause

   infringement. See, e.g., Greer v. Moon, 2021 WL 4291197, at *3 (D. Utah Sept. 21, 2021) (“It is

   not enough for contributory liability for a defendant to have merely ‘permitted’ the infringing

   material to remain on the website, without having ‘induced or encouraged’ the initial

   infringement.”) (brackets omitted); Viesti, 2013 WL 4052024, at *7 (dismissing contributory claim

   because “there [we]re no factual assertions describing how [the defendant] enabled, induced, or

   facilitated the infringement of the photographs”). Decisions from other Circuits are in accord. See,

   e.g., Cobbler Nev., LLC v. Gonzales, 901 F.3d 1142, 1147-49 (9th Cir. 2018) (affirming dismissal

   of contributory copyright claim under Grokster and holding that “a failure to take affirmative steps

   to prevent infringement alone cannot trigger liability”) (quotations omitted); Dallas Buyers Club,

   LLC v. Doughty, 2016 WL 1690090, at *9 (D. Or. Apr. 27, 2016) (“[Defendant] did not promote



                                                    6
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
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                                                                  Colorado
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                                                                            Page 7pg
                                                                                   of 820
                                       of 21




   the use of his Internet service to infringe [plaintiff’s] copyright and is therefore not liable for

   contributory infringement. … [Plaintiff’s] theory of contributory infringement is precluded by the

   Supreme Court’s holding in Grokster.”); Space Coast Bus., LLC v. Coastal Media Assocs., LLC,

   2011 WL 13299573, at *2 (M.D. Fla. July 6, 2011) (dismissing claim where plaintiff failed to

   allege “what steps [defendant] took to induce or encourage [the] … infringements”).

          Some courts have incorrectly applied Grokster in cases involving ISPs that, like Charter,

   merely provide a connection to the Internet, finding that a failure to terminate the Internet access

   of specific customer accounts accused of infringement could be evidence of the ISP’s intent to

   promote infringement. See, e.g., BMG Rts. Mgmt. (US) LLC v. Cox Commc’ns Inc., 881 F.3d 293,

   307-08 (4th Cir. 2018); UMG Recs., Inc. v. RCN Telecom Servs., LLC, 2020 WL 5204067, at *8-

   9 (D.N.J. Aug. 31, 2020); UMG Recs., Inc. v. Grande Commc’ns Networks, LLC, 384 F. Supp. 3d

   743, 767 (W.D. Tex. 2019). These decisions, however, cannot be reconciled with Grokster’s

   holding that contributory liability exists only where there is evidence that it was a defendant’s

   intended purpose—its objective—to cause infringement, as shown by clear expression or

   affirmative acts. Indeed, Grokster distinguished such a situation from Sony, which had “barred

   secondary liability based on presuming or imputing intent to cause infringement solely from the

   design or distribution of a product capable of substantial lawful use, which the distributor knows

   is in fact used for infringement.” 545 U.S. at 933 (emphasis added); see also id. at 937 (liability

   cannot be premised on “mere knowledge of infringing potential or of actual infringing uses”)

   (emphasis added). Grokster also cautions that liability may not be based on a failure to prevent

   infringement. Id. at 939 n.12 (“[I]n the absence of other evidence of intent, a court would be




                                                    7
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                           Filed 11/15/21
                                                   filed 11/29/21
                                                            USDC USDC
                                                                  Colorado
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                                                                            Page 8pg
                                                                                   of 920
                                       of 21




   unable to find contributory infringement liability merely based on a failure to take affirmative steps

   to prevent infringement … Such a holding would tread too close to the Sony safe harbor.”).

          Grokster requires something more.         And that something more must be evidence of

   “affirmative steps” or “clear expression” showing intent to cause infringement. Id. at 919. A

   correct application of Grokster forecloses the possibility that an ISP’s policy not to terminate

   Internet access for customers accused of infringement can establish liability.

          B.      Plaintiffs Cannot Prove That Charter Intended To Cause Infringement

          The record contains no evidence whatsoever that Charter supplied Internet service with the

   object of fostering copyright infringement. To the contrary, Charter employed robust processes to

   ensure that subscribers were informed of infringement accusations by rightsholders and educated

   about copyright infringement on the Internet—all in an effort to discourage and prevent future

   infringement. See generally Haynes Decl. In addition, Charter’s program to curb infringement

   was modeled after the Copyright Alert System (“CAS”)—a framework of best practices for

   handling allegations of copyright infringement endorsed by members of the movie, television,

   music—including the Plaintiffs in this case—and Internet service provider communities. Id. ¶¶

   14-40; Schapiro Decl. Exs. B, C. Like Charter’s program, the cornerstone of the CAS program

   was customer education. Haynes Decl. ¶ 16; Schapiro Decl. Exs. B, C.                                     ,

   CAS did not require ISPs to terminate customers based only on the receipt of notices from rights

   holders. Haynes Decl. ¶ 17; Schapiro Decl. Exs. B, C.




                             . Haynes Decl. ¶¶ 31-35, Exs. B, C. In short, there is no evidence that



                                                     8
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
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                                                                           Page 9pgof10
                                                                                      20
                                       of 21




                                                                           was adopted with the intent

   to promote infringement, and no reasonable juror could conclude that it was.

          C.      Charter Did Not Have Actual Knowledge Of The Infringement

          Even if Plaintiffs did not have to satisfy Grokster’s intent requirement, Plaintiffs’

   contributory infringement claim would still fail because Charter did not have actual knowledge of

   the alleged infringement. The only possible evidence of actual knowledge comes from

   “infringement notices” Plaintiffs sent Charter. No reasonable juror could find that those notices

   conferred actual knowledge that customers had in fact infringed in the past, let alone that they

   would do so in the future—which is the relevant test under the standard Plaintiffs have espoused.

          As an initial matter, the allegations in Plaintiffs’ “infringement notices” are not sufficient

   to confer actual knowledge of any infringement on Charter given that they do not even assert that

   Charters’ subscribers are liable for copyright infringement. Rather, the notices say that the

   customer “may be” (and hence may not be) liable for infringing activity. The portion of Plaintiffs’

   notices specifically directed to Charter says: “This letter constitutes notice to you that this user

   may be liable for infringing activity occurring on your network.” Haynes Decl. Ex. A (emphasis

   added). This equivocal language does not give Charter actual knowledge of infringement.

          Furthermore, the receipt of notices by a cable company like Charter—which merely

   provides a connection to the Internet and does not itself host the allegedly infringing content—

   cannot be the basis of actual knowledge of infringement. This is because

                                     . Haynes Decl. ¶¶ 9-11; Corbis Corp. v. Amazon.com, Inc., 351

   F. Supp. 2d 1090, 1105-06 (W.D. Wash. 2004) (“Actual knowledge of blatant, repeat infringement

   cannot be imputed merely from the receipt of notices of infringement. Instead, there must be



                                                    9
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
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                                                                                   pgof1120
                                        of 21




    additional evidence available to the service provider to buttress the claim of infringement supplied

    by the notices.”).

            Charter cannot, for example,




                                                    .

            Plaintiffs’ theory that Charter “knew” customers would continue to receive notices in the

    future because they had received notices in the past also is unsupported by the record. At the same

    time Charter was receiving notices from Plaintiffs alleging that its customers “may be liable” for

    infringement,

                                                                         . Haynes Decl. ¶¶ 31-35; Exs.

    B, C.



                              . Id. Moreover, given Charter’s robust program for informing and

    educating notice recipients about copyright infringement—the entire point of which was to change

    behavior to prevent notices of infringement from issuing in the future—Charter had every reason

    to expect the notice-generating behavior would cease once customers were informed and educated

    about the problem, given that the industry’s best practices at the time were premised on this

    principle. Haynes Decl. ¶¶ 14-20; Schapiro Decl. Ex. B (“Data suggest that, once informed about

    the alleged content theft and its possible consequences, most Internet subscribers will quickly take

    steps to ensure that the theft doesn’t happen again.”).       Indeed,



                                                    10
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
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                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
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                                                                             Page 11
                                                                                   pgof1220
                                        of 21




                                                                                           demonstrates

    that Charter’s efforts were succeeding. Haynes Decl. Exs. B, C. Under these circumstances, no

    reasonable jury could conclude that Charter had actual knowledge that these customers would

    continue to receive notices in the future. See Knowledge, BLACK'S LAW DICTIONARY (11th ed.

    2019) (“An awareness or understanding of a fact or circumstance; a state of mind in which a person

    has no substantial doubt about the existence of a fact.”).

           Accordingly, because Plaintiffs cannot prove that Charter had the requisite intent to cause

    infringement or actual knowledge of the alleged infringement itself, summary judgment should be

    entered for Charter on Plaintiffs’ contributory liability claim.

    II.    PLAINTIFFS CANNOT PROVE VICARIOUS INFRINGEMENT

           Plaintiffs’ claim for vicarious copyright infringement also fails. To establish vicarious

    infringement, Plaintiffs must prove both that Charter: (i) “possessed a direct financial interest in

    the exploited copyrighted materials”; and (ii) “had the right and ability to supervise the infringing

    activity or infringer.” Shell v. Am. Fam. Rts. Ass’n, 2010 WL 1348548, at *16 (D. Colo. Mar. 31,

    2010). Plaintiffs cannot prove either element.

           A.      Plaintiffs Cannot Prove That Charter Had A Direct Financial Interest

           Proving vicarious liability requires showing that Charter had a direct financial interest in

    the copyrighted works at issue. Id.; see also Grokster, 545 U.S. at 930 n.9 (defendant must “profit[]

    directly from the infringement”). “The essential aspect of the ‘direct financial benefit’ inquiry is

    whether there is a causal relationship between the infringing activity and any financial benefit a

    defendant reaps.” Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004). Further, the “direct

    financial interest” cannot be “just an added benefit.” Id. Plaintiffs’ allegations that Charter



                                                     11
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 12
                                                                                   pgof1320
                                        of 21




    received a “direct financial benefit from its customers’ infringement” (First Am. Compl. ¶¶ 4, 115)

    were rejected in a substantially identical case, see UMG Recs., Inc. v. Bright House Networks, LLC,

    2020 WL 3957675, at *3-*7 (M.D. Fla. July 8, 2020), and have not been substantiated by the

    record in this case.2

            There is no evidence that Charter’s subscribers were drawn to Charter’s services—in whole

    or in part—to infringe Plaintiffs’ works. After years of scorched-earth discovery, Plaintiffs cannot

    point to any evidence that customers chose Charter’s services over other ISPs for the purpose of

    infringing, or that customers perceived the ability to infringe Plaintiffs’ copyrights using Charter’s

    services as an added benefit. For instance, there is no testimony from Charter’s subscribers

    indicating they were drawn to Charter’s Internet services to infringe at all—much less to infringe

    Plaintiffs’ works. Nor are there documents or testimony showing that Charter courted would-be

    copyright infringers—because it did not do so. Haynes Decl. ¶¶ 41-42. This lack of evidence is

    fatal to Plaintiffs’ claim because, as this Court has acknowledged (Dkt. 157 at 6), the law requires

    that the draw must be “the infringing products” themselves. See Adobe Sys. Inc. v. Canus Prods.,

    Inc., 173 F. Supp. 2d 1044, 1051 (C.D. Cal. 2001); see also Ellison, 357 F.3d at 1078 (“Financial

    benefit exists where the availability of infringing material acts as a ‘draw’ for customers.”)

    (quotations omitted).

            Plaintiffs’ case is premised on the unsubstantiated assumption that would-be copyright

    infringers were attracted to Charter—as opposed to other Internet providers—because it advertised



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       Charter is mindful that this Court previously denied its motion to dismiss Plaintiffs’ vicarious
    liability claim. Dkt. 157. While Charter respectfully disagrees with that ruling, even if Plaintiffs
    adequately alleged vicarious liability at the pleading stage, they have failed to create a genuine
    issue of material fact on the issue such that a reasonable juror could find Charter liable at trial.


                                                     12
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 13
                                                                                   pgof1420
                                        of 21




    fast Internet services. But high-speed access is a feature that all subscribers desire and all ISPs

    tout. See Bright House, 2020 WL 3957675, at *5 (rejecting “dog-whistle theory” that defendant

    “advertises faster internet speeds to surreptitiously entice the prospective infringer”). There is no

    proof whatsoever “that an internet thief would be ‘drawn’ by the efficiency of internet service any

    more than the average law-abiding purchaser of copyrighted content. All users presumably seek

    faster, more reliable internet service.” Id. Similarly, the record contains no evidence supporting

    the theory that advertising the ability to “download 8 songs in 3 seconds” (First Am. Compl. ¶ 85)

    should be understood as an appeal to download infringing songs, as opposed to lawfully sourced

    music—because both acts require access to the Internet. Plaintiffs’ allegations that Charter “

                                                               ” and “condoned [subscribers’] illegal

    activity” fare no better, as Plaintiffs have no evidence that Charter’s purported conduct was

    different from that of other ISPs, or that consumers sought out Charter’s services in particular (as

    compared to competing services) to infringe Plaintiffs’ copyrights. First Am. Compl. ¶¶ 87, 115.3

           Nor could any reasonable jury find that

                                    was a “draw” to would-be infringers. The industry standard at the

    time—and the practice employed by most ISPs—was

                                           . Haynes Decl. ¶¶ 14-40; Schapiro Decl. Exs. B, C.



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       At most, Plaintiffs’ purported draw is no more than an “added benefit,” something that Ellison
    and other caselaw on which Plaintiffs rely state is inadequate. 357 F.3d at 1079; Perfect 10, Inc.
    v. Giganews, Inc., 847 F.3d 657, 674 (9th Cir. 2017). As over a dozen leading intellectual law
    professors explained in the ongoing Sony Music Entertainment v. Cox Communications, Inc.
    appeal, it is “access to th[e online] universe [that] is the draw for subscribers,” while accessing
    copyrighted material serves, at best, as “an added benefit to a subscription … [that] is insufficient
    to act as a draw.” Br. of Amici Curiae Intell. Prop. L. Professors at 6, No. 21-1168 (4th Cir. June
    1, 2021), ECF 33-1 (“Profs. Br.”) (quotation omitted).


                                                     13
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 14
                                                                                   pgof1520
                                        of 21




           B.      Plaintiffs Cannot Prove Charter Had The Right And Ability To Supervise Its
                   Users’ Conduct On The Internet

           Plaintiffs must also prove that Charter “had the right and ability to supervise the infringing

    activity or infringer.” Shell, 2010 WL 1348548, at *16. There is no such evidence.



                                                                                  Haynes Decl. ¶ 9-11.

    Charter did not have the “technical ability to screen out” infringing content. VHT, Inc. v. Zillow

    Grp. Inc., 918 F.3d 723, 746 (9th Cir. 2019); Haynes Decl. ¶¶ 9-11. Nor did Charter have access

    to the computers of its subscribers or control of what was stored on them. Id.

           The ability to terminate customers’ access to the Internet is not equivalent to the ability to

    supervise subscribers’ activity as it occurs. Every ISP has the power to turn off subscribers’ service,

    much like an electric company can turn off a customer’s electricity. But neither Charter nor the

    electric company has the ability to supervise what customers actually do with the service as they

    are doing it. Evidence of Charter’s ability to terminate is not enough to defeat summary judgment

    on Plaintiffs’ vicarious liability claim. See Routt v. Amazon.com, Inc., 584 F. App’x 713, 715-16

    (9th Cir. 2014) (“while Amazon may have had the right and ability to terminate the accounts of

    the infringing Associates, Routt has not adequately alleged that Amazon exercises any direct

    control over those Associates’ activities”); Music Force, LLC v. Sony Music Holdings Inc., 2020

    WL 5733258, at *3 (C.D. Cal. Aug. 12, 2020) (“[T]he right to terminate services or a contract with

    an infringer does not amount ‘to a right and ability to supervise the infringing conduct.’”).

           Although there are cases “in which ISPs were found to have the practical ability to stop or

    limit infringement” based on termination, Dkt. 157 at 13 (collecting cases), those courts did not

    find that ISPs can actively supervise the alleged infringement as it occurs, as opposed to later


                                                     14
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
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                                      549 590-4
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                                                    filed 11/29/21
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                                                                   Colorado
                                                                         Colorado
                                                                             Page 15
                                                                                   pgof1620
                                        of 21




    taking the draconian remedy of terminating an account.4 In UMG Recs., Inc. v. Grande Commc’ns

    Networks, LLC, which dismissed Plaintiffs’ vicarious liability claim for failure to plead a direct

    financial benefit, the Court barely addressed the supervision issue, finding without analysis that

    the defendant’s ability to “stop or limit the infringing conduct by terminating its subscribers’

    internet access” was “sufficient to state a claim.” 2018 WL 1096871, at *10 (W.D. Tex. Feb. 28,

    2018) report and recommendation adopted, 2018 WL 1905124 (W.D. Tex. Mar. 28, 2018). This

    latter conclusion was wrong and unnecessary to the ultimate outcome of Plaintiffs’ vicarious

    liability claim—and in any event by its terms applies only at the motion to dismiss stage. Grande

    cited to Perfect 10 v. Amazon.com, 487 F.3d 701, 730 (9th Cir. 2007) which held that “under

    Grokster, a defendant exercises control over a direct infringer when he has both a legal right to

    stop or limit the directly infringing conduct, as well as the practical ability to do so.” Id. (emphasis

    added); see also Perfect 10, 508 F.3d at 1173 (same).

           It is not disputed that Charter cannot control the actions of its users on the Internet. Haynes

    Decl. ¶¶ 9-11. All Charter can control is whether it provides those customers with the ability to

    get online. Id. That is not sufficient to find that Charter has the practical ability to supervise its

    users’ conduct such that Charter should be held responsible for it. Routt, 584 F. App’x at 715-16;

    Music Force, 2020 WL 5733258 at *3. Plaintiffs cannot prove that Charter either received a direct




    4
        Indeed, the logical extension of these rulings is that all ISPs would always have the right and
    ability to supervise any alleged infringing activity or infringer that took place on the Internet. This
    renders the “supervision” prong of the vicarious infringement test meaningless, and would both
    unmoor the vicarious liability doctrine from its respondeat superior roots and require ISPs to
    disconnect an entire household’s or business’s Internet service if one member of that household or
    business is repeatedly accused of infringement—on pain of up to $150,000 in damages per work
    alleged to be infringed.


                                                      15
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 16
                                                                                   pgof1720
                                        of 21




    financial benefit from the alleged infringement or that it controlled the infringing activity, and

    accordingly summary judgment should be entered for Charter on the vicarious liability claim.

    III.   PLAINTIFFS ARE LIMITED AS A MATTER OF LAW IN THE NUMBER OF
           WORKS ELIGIBLE FOR A STATUTORY DAMAGES AWARD

           As their sole form of monetary damages, Plaintiffs have elected to seek “an award of

    statutory damages for all infringements involved in the action[] with respect to any one work.” 17

    U.S.C. § 504(c)(1).5 While Plaintiffs list 6,963 sound recordings and 4,064 musical compositions

    in the exhibits to the First Amended Complaint (totaling 11,027 asserted works), there are legal

    limitations on how to count the number of “works” that are eligible for statutory damages.

           A.      The Copyright Act Limits Plaintiffs To One Award Of Statutory Damages Per
                   Recording/Composition Pair

           The Copyright Act instructs that “all the parts of a … derivative work constitute one work.”

    17 U.S.C. § 504(c)(1). A derivative work is defined as “a work based upon one or more preexisting

    works, such as a … sound recording.” Id. § 101 (emphasis added); cf. Palladium Music, Inc. v.

    EatSleepMusic, Inc., 398 F.3d 1193, 1197 (10th Cir. 2005) (“[a] sound recording is a derivative

    work in relation to the musical work recorded therein”) (quoting NIMMER ON COPYRIGHT § 2.10[A]

    n.8). That is, a particular recording of a song is a derivative work of the composition on which it

    is based. For example, Whitney Houston’s recording of “I Will Always Love You” is a derivative

    work in relation to the original musical composition of “I Will Always Love You” by Dolly Parton.

           The text of § 504(c)(1) and § 101 requires that where Plaintiffs assert infringement of a

    sound recording that is derivative of an asserted musical composition, that pair must be counted


    5
       Plaintiffs’ election of statutory damages is irrevocable. See, e.g., Latin Am. Music Co. v. Spanish
    Broad. Sys., Inc., 866 F. Supp. 780, 782 (S.D.N.Y. 1994); 6 PATRY ON COPYRIGHT § 22:173 (an
    election of statutory damages “may not be revoked”).


                                                     16
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 17
                                                                                   pgof1820
                                        of 21




    as a single “work” for the purposes of a statutory damages award. See, e.g., Capitol Rec., Inc. v.

    MP3tunes, LLC, 28 F. Supp. 3d 190, 192 (S.D.N.Y. 2014) (“when [infringers] infringed the

    copyright covering a sound recording and musical composition for the same song, they infringed

    only one work because the infringement was directed at the sound recording and the musical

    composition was not exploited separately”) (emphasis added); Spooner v EEN, Inc., 2010 WL

    1930239, at *4 (D. Me. May 11, 2010) (musical composition and sound recording “one work” for

    statutory damages); 6 PATRY ON COPYRIGHT § 22:186 (“[s]ound recordings are defined in section

    101 as species of derivative work of the underlying musical composition, and, as such, both fall

    within the one work, one award rule for statutory damages that only award[s] for infringement of

    both works”); 4 NIMMER ON COPYRIGHT § 14.04[E][1][b] (2021) (similar).6

           It makes no difference whether the copyrights for a recording and a composition are owned

    by different plaintiffs; only one award per “work” is permitted, regardless of ownership. See EMI

    Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 94 (2d Cir. 2016) (affirming that

    “plaintiffs could recover only one statutory damages award for a musical composition and its

    corresponding sound recording, even where the composition and the recording were owned by




    6
       Because the plain text alone directs this outcome, the Court need go no further. Should any
    doubt exist, the legislative history of § 504(c) confirms that, for the purpose of statutory damages,
    a musical composition and any derivative sound recordings constitute one “work.” See H.R. Rep.
    No. 94-1476, at 162 (1976); S. Rep. No. 94-473, at 144 (1975). Both the House and Senate Reports
    emphasize that “all the parts of a compilation or derivative work constitute one work,” even when
    “they are regarded as independent works for other purposes.” Id.


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Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
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                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
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                                                                   Colorado
                                                                         Colorado
                                                                             Page 18
                                                                                   pgof1920
                                        of 21




    separate plaintiffs” because “a plain reading of the Copyright Act’s text supports [that]

    conclusion”).7

           Resolution of this legal issue in Charter’s favor will reduce the number of “works” in the

    case from 11,027 to 8,195. First Am. Compl. Exs. A, B; Schapiro Decl. ¶ 5, Ex. D.8

           B.        The Copyright Act Limits Plaintiffs To One Award Of Statutory Damages For
                     Sound Recordings Issued On A Registered Album

           There is no dispute that many of the asserted sound recordings were registered and issued

    as albums. The Copyright Act instructs that, for the purposes of a statutory damages award, “all

    the parts of a compilation … constitute one work.” 17 U.S.C. § 504(c)(1). This definition includes

    works “in which a number of contributions, constituting separate and independent works in

    themselves, are assembled into a collective work.” Id. An album fits squarely within the definition

    of a compilation. Thus, where multiple recordings appear on a single album, Plaintiffs are limited

    to a single award of statutory damages per album, and cannot seek statutory damages for individual

    songs that were issued on an album. The Copyright Act provides for no exception.

           Although several courts have eschewed the mandate of § 504(c)(1) in favor of a judicially

    created “independent economic value” test (or other similar tests) that creates an exception to the

    statutory rule, this Court should decline to follow their lead. These decisions cannot be squared


    7
        As far as Charter is aware, only one court has held that separate statutory damages may be
    awarded for a composition and a recording if different plaintiffs owned the copyrights. See Teevee
    Toons, Inc. v. MP3.com, Inc., 134 F. Supp. 2d 546, 548 (S.D.N.Y. 2001). But the Second Circuit
    later expressly rejected Teevee Toons in 2016. See EMI Christian Music Grp., 844 F.3d at 95.
    8
       Although Charter has used information provided by Plaintiffs for these calculations, the parties
    may disagree on the precise number of works implicated by each of the damages related issues
    raised in this motion. Accordingly, Charter proposes that after the Court rules on the legal issues
    presented in this motion the parties meet and confer with the goal of stipulating to the number of
    “works” eligible for statutory damages.


                                                    18
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 19
                                                                                   pgof2020
                                        of 21




    with Congressional intent as reflected in the statutory text. Star Athletica, L.L.C. v. Varsity Brands,

    Inc., 137 S. Ct. 1002, 1010 (2017) (“We [] begin and end our inquiry with the text.”).

              Resolution of this legal issue in Charter’s favor will reduce the number of “works” in the

    case from                       First Am. Compl. Exs. A, B; Schapiro Decl. ¶ 6, Ex. E. Counting as

    “compilations” all the works Plaintiffs registered as “works made for hire,” which they must be

    under the Copyright Act, see 17 U.S.C. § 101 (definition of “work made for hire”); U.S. Copyright

    Office,        Circular   30,    Works     Made        for   Hire    2-3    (Rev.     Mar.      2021),

    https://copyright.gov/circs/circ30.pdf, would further reduce the number of “works” to                .9

    Schapiro Decl. ¶ 10.

              C.      Plaintiffs Cannot Recover For Works That Were Not Timely Registered

              Finally, the Court should preclude Plaintiffs from recovering statutory damages for works

    that were not timely registered with the Copyright Office—a precondition for such an award. A

    copyright holder may seek statutory damages only if it registers the work either: (1) before the

    alleged infringement; or (2) within three months of first publication. 17 U.S.C. § 412(2); see also

    Grady v. Swisher, 2014 WL 3562794, at *14 (D. Colo. July 18, 2014) (directing “mandatory denial”

    of statutory damages on such grounds); Shell v. Henderson, 2013 WL 2394935, at *3 (D. Colo.

    May 31, 2013) (“an author’s failure to register a copyrighted work until after infringement has

    already begun operates to deprive the author of … the right to obtain statutory damages”).




    9
       Resolution of the legal issues identified in Section III. A and B in Charter’s favor will reduce
    the number of “works” identified in the Complaint that qualify for statutory damages from
             Schapiro Decl. ¶ 7.


                                                      19
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      549 590-4
                                            Filed 11/15/21
                                                    filed 11/29/21
                                                             USDC USDC
                                                                   Colorado
                                                                         Colorado
                                                                             Page 20
                                                                                   pgof2120
                                        of 21




    Those     works therefore are not eligible for statutory damages. Schapiro Decl. ¶¶ 8-9, Exs. F-

    H.

                                             CONCLUSION

            WHEREFORE, for all the foregoing reasons, Charter respectfully requests that the Court

    grant its motion for summary judgment.

    Dated: November 15, 2021                  Respectfully submitted,
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